







NUMBER 13-00-652-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


__________________________________________________________________


CHARLIE JONES,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

__________________________________________________________________


On appeal from the 85th District Court 


of Brazos County, Texas.


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O P I N I O N



Before Justices Hinojosa, Yañez, and Chavez


Opinion Per Curiam



	Appellant, CHARLIE JONES, perfected an appeal from a judgment
entered by the 85th District Court of Brazos County, Texas,  in cause
number 2603185.  Appellant has filed a motion to dismiss the appeal. 
The motion complies with Tex. R. App. P. 42.2(a).

	The Court, having considered the documents on file and
appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's
motion to dismiss the appeal is granted, and the appeal is hereby
DISMISSED.

							PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 16th day of November, 2000.


